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                      EXHIBIT A
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                                   SERVICE LIST
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1225 King Street                                  Atlanta, GA 30363-1031
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Wilmington, DE 19801-0000                         Trademarc Associates, Inc.
                                                  880 Cara Court
Attn: Kathleen M. Miller                          Bangor, PA 18013-0000
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                                                  Emmaus, PA 18049-0000
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Lockbox 35                                        Attn: Adrienne K. Walker
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                                                  Glovsky and Popeo, P.C.
                                                  One Financial Center
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David Watkins Homes Inc.                          Attn: Lee S. Raphael
659 Wexford Drive                                 Prober & Raphael, A Law Corp
Lafayette, IN 47905-0000                          20750 Ventura Boulevard
                                                  Suite 100
Herc Rentals Inc fka                              Woodland Hills, CA 91364-0000
Hertz Equipment Rental
27500 Riverview Center                            Active Network, LLC
Bonita Springs, FL 34134-0000                     717 North Harwood
                                                  Suite 2500
Nationwide Logistics, LLC                         Dallas, TX 75201-0000
P.O. Box 53485
Cincinnati, OH 45253-0000                         Attn: Allen G. Kadish
                                                  Archer & Greiner, P.C.
                                                  630 Third Avenue
                                                  New York, NY 10017-0000

                                                  Bass, Berry & Sims PLC
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CBS Networks Inc. dba                               William T. Dean
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Eventbrite, Inc
155 5th Street
San Francisco, CA   94103-0000

Facebook Advertising
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Foley & Lardner, LLP
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Labelium Corp
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Navy Federal Credit Union
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